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FILED

IN THE UNITED STATES DISTRICT COURT DEC 1 4 2027

FOR THE SOUTHERN DISTRICT OF IOWA

CLERK, U.S, DISTRICT co
SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA, Criminal No. 4:22-cr-199

v. INDICTMENT
BRADLEY EUGENE WENDT and 18 U.S.C. § 2
ROBERT ALLEN WILLIAMS, 18 U.S.C. § 371
18 U.S.C. § 922(0)
Defendants. 18 U.S.C. § 924(a)(2)

18 U.S.C. § 924(d)
18 U.S.C. § 1001(a)(2)
28 U.S.C. § 2461(c)

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THE GRAND JURY CHARGES:

Introductory Allegations

At times material to this Indictment:

1. The defendant, BRADLEY EUGENE WENDT, is the Chief of Police for
the City of Adair and has held that position since J uly 2, 2018. The City of Adair,
Iowa, is in the Southern District of Iowa. As of the 2020 census, the City of Adair had
a population of 791. The Adair Police Department currently has two full-time police
officers, including WENDT, but there is generally only one officer on duty at a given
time. During WENDT’s tenure as Chief of Police, the Adair Police Department has
never had more than three full-time police officers.

g.. Since 2013, WENDT has owned and operated two firearms supply stores
and federal firearms licensees: BW Outfitters, Inc., located in Anita, Iowa; and
B Wout Fitters, Inc., located in Denison, Iowa. B Wout Fitters, Inc., is an FFL with

Special Occupational Tax (SOT), which allows B Wout Fitters, Inc., in certain

 
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circumstances, to possess and deal in machine guns regulated by the National
Firearms Act, Title 26, United States Code, Section 5801 et seq. and the Gun Control
Act, Title 18, United States Code, Section 921 et. seq.!

3. Since approximately July 2018, WENDT has exploited his position as
the Adair Chief of Police to obtain and possess machine guns not lawfully available
to the public. As detailed below, WENDT has done so by providing “law letters” to
the Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) in which WENDT
falsely stated, among other things, that: (1) the machine gun(s) were being purchased
for the official use of the Adair Police Department: or (2) the machine guns were being
demonstrated to the Adair Police Department to evaluate them for potential future
purchase by the Adair Police Department.

4, By making these and other false statements to the ATF , WENDT has
obtained 10 machine guns for the Adair Police Department and 13 machine guns for
BW Outfitters. WENDT has also written approximately 22 additional demonstration
law letters to other FFL-SOTs requesting a demonstration of 52 total machine suns
to the Adair Police Department for potential future purchase. Of those 52 machine
guns requested by WENDT for demonstration to the Adair Police Department,

approximately 27 were in fact transferred and acquired by FFL-SOTs (other than BW

 

' The FFL licensee name for the Anita location is BW Outfitters, Inc., and the
FFL licensee name for the Denison location is B Wout Fitters, Inc. However, B Wout
Fitters, Inc. is not a recognized corporation in the state of Iowa. In public
representations and law letters, WENDT does not differentiate between these two
entities and refers to them individually and collectively as BW Outfitters.
Subsequent references to BW Outfitters in this Indictment are to the FFL-SOT
identified as B Wout Fitters, Inc.

 
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Outfitters) purportedly for demonstration to the Adair Police Department. In total,
WENDT has purchased 10 machine guns for the Adair Police Department, attempted
to purchase 15 additional machine guns for the Adair Police Department, and
requested the demonstration of 65 machine guns to the Adair Police Department.
WENDT sold several machine guns registered to the Adair Police Department at a
profit; rented out machine guns registered to the Adair Police Department and BW
Outfitters to the public in exchange for money; and intended to later sell the machine
guns registered to BW Outfitters at a significant personal profit.

5. The defendant, ROBERT ALLEN WILLIAMS, owns and operates
Williams Contracting LLC (Williams Contracting), based in Manning, Iowa. WENDT
and WILLIAMS are friends. In August 2020, Williams Contracting became an FFL-
SOT, authorized, in certain circumstances, to deal in machine guns. In September
2020, Williams Contracting began to obtain machine guns through false
demonstration law letters signed by WENDT, in his capacity as the Adair Chief of
Police. WILLIAMS has obtained seven false demonstration law letters from WENDT,
acquiring a total of 10 machine guns for Williams Contracting, each purportedly for
demonstration to the Adair Police Department. WILLIAMS intended to later sell
these machine guns at a significant personal profit.

Federal Law on Machine Guns

6. Federal law generally prohibits the possession, transfer, and

importation of fully automatic machine guns manufactured after May 19, 1986

(machine guns).

 
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‘L, The ATF administers and enforces federal machine gun laws. Any
purchase, sale, transfer, or importation of a machine gun must be approved by the
ATF’s National Firearms Act Division (NFA Division). As material to this Indictment,
there are two exceptions to the general prohibition on the possession, transfer, and
importation of machine guns:

8. First, machine guns may be purchased, possessed, and imported directly
by federal, state, and local law enforcement agencies.

9. Second, machine guns may be purchased, possessed, and imported by
an FFL-SOT for use as a sample for demonstration to potential law enforcement
agency purchasers.

10. Pursuant to ATF regulations, both exceptions require the law
enforcement agency who is either purchasing the machine gun or requesting a
demonstration of the machine gun to submit a “law letter.” “Law letter” is an
industry term that refers to a letter drafted by a law enforcement official, in their
official capacity as a law enforcement officer, requesting either the purchase of a
machine gun by the agency (purchase law letter) or demonstration of a machine gun
to the agency for potential future purchase (demonstration law letter).

11. Ina purchase law letter, the agency typically identifies the quantity,
make, model, and cost of the machine gun it seeks to purchase. The agency further
represents the machine gun is being acquired for the agency’s official use and not for

the purpose of resale or transfer.

 
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12. To obtain a machine gun as a sample for demonstration to a potential
law enforcement agency purchaser, an FFL-SOT must provide the NFA Division with
an application containing, among other things, a demonstration law letter from the
law enforcement agency. This demonstration law letter must express a need for a
particular machine gun or an interest in seeing a demonstration of a particular
machine gun for potential future purchase.

13. Transfers of machine guns between FFL-SOTs typically require a
demonstration law letter from a law enforcement agency seeking a demonstration of
the machine gun for future potential purchase. However, if an FFL-SOT surrenders
its SOT — its authorization to possess and deal in machine guns — the FFL may sell
and transfer machine guns to any licensed FFL-SOT without a law letter.

14. Federal law further requires FFL-SOTs who purchase, sell, transfer,
import, or possess machine guns to keep and maintain records related to their

acquisition and disposition of machine guns.

COUNT 1
(Conspiracy to Make False Statements to and Defraud the ATF)

15. The introductory allegations of this Indictment, paragraphs 1
through 14, are incorporated as if set forth fully herein.

16. Beginning in or about July 2018, and continuing through and including
August 2022, in the Southern District of Iowa and elsewhere, the defendants,
BRADLEY EUGENE WENDT and ROBERT ALLEN WILLIAMS, knowingly and
willfully conspired with each other and other persons known and unknown to the

Grand Jury, to commit offenses against the United States and any agency thereof

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and to defraud the United States and any agency thereof. Specifically, the
defendants, BRADLEY EUGENE WENDT and ROBERT ALLEN WILLIAMS,
conspired with each other and other persons known and unknown to the Grand J ury,
to knowingly and willfully make and cause to be made, and use and cause to be used,
in a matter within the jurisdiction of a department or agency of the United States,
namely, the ATF, a materially false, fictitious, and fraudulent statement and
representation, namely, law letters purportedly requesting the purchase or
demonstration of machine guns, in violation of Title 18, United States Code,
Section 1001(a)(2). The defendants, BRADLEY EUGENE WENDT and ROBERT
ALLEN WILLIAMS, further conspired with each other and other persons known and
unknown to the Grand Jury, to defraud the United States, namely, the ATF, by
impairing, impeding, obstructing, and defeating the lawful government functions of
the ATF in the administration of the law and regulations of the National Firearms
Act and Gun Control Act pertaining to machine guns.
Purpose of the Conspiracy

17. It was the purpose and object of the conspiracy of the defendants,

BRADLEY EUGENE WENDT and ROBERT ALLEN WILLIAMS, to:

a. unlawfully obtain and acquire machine guns for the defendants’
use and enjoyment;

b. unlawfully obtain and acquire machine guns for the purpose of
selling or transferring the machine guns for the defendants’
personal profit;

ce unlawfully obtain and acquire machine guns for the purpose of
renting the machine guns to private citizens in exchange for
money;

 
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d. allow private citizens to possess and shoot machine guns that
were not otherwise available to the public; and

e. as to the defendant, BRADLEY EUGENE WENDT, facilitate the
transfer of machine guns to other FFL-SOTs.

Manner and Means

18. The defendants, BRADLEY EUGENE WENDT and ROBERT ALLEN
WILLIAMS, and their co-conspirators, used the following manner and means, among
others, to accomplish the goals of their conspiracy:

19. The defendant, BRADLEY EUGENE WENDT, signed and transmitted
purchase law letters in which he falsely stated: (1) that the Adair Police Department
was purchasing machine guns for the official responsibilities and duties of the Adair
Police Department; (2) that the machine guns would be the property of the Adair
Police Department; and (3) that the machine guns were not being acquired for the
purpose of resale or transfer. In fact, WENDT acquired and sold machine guns
registered to the Adair Police Department for his own personal profit and gain.

20. The defendant, BRADLEY EUGENE WENDT, obtained and acquired
machine guns for his own FFL-SOT, BW Outfitters, by signing and transmitting
demonstration law letters. In these letters, which WENDT wrote from himself as the
Adair Chief of Police to himself as the owner of BW Outfitters, WENDT falsely stated
that the Adair Police Department wanted a demonstration of the machine guns for
potential future purchase. In fact, the Adair Police Department was not interested

in and was not considering purchasing the machine guns identified in the

 
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demonstration law letters. Rather, the true purpose of the demonstration law letters
was for WENDT to acquire machine guns for his personal use, enjoyment, profit, and
gain. In addition to acquiring the machine guns for his personal use and enjoyment,
WENDT intended to stockpile machine guns so that he could later surrender his FFL-
SOT and sell the machine guns at a profit.

21. The defendant, BRADLEY EUGENE WENDT, signed and transmitted
demonstration law letters to other FFL-SOTs to facilitate the transfer of machine
guns by falsely stating that the Adair Police Department wanted a demonstration of
the machine guns for potential future purchase.

22. The defendant, ROBERT ALLEN WILLIAMS, solicited false
demonstration law letters from BRADLEY EUGENE WENDT, in which WENDT
falsely stated that the Adair Police Department wanted a demonstration of machine
guns for potential future purchase. In fact, the Adair Police Department was not
interested in and was not considering purchasing the machine guns identified in the
demonstration law letters solicited by WILLIAMS and signed by WENDT. Rather,
the true purpose of the demonstration law letters was to facilitate WILLIAMS’
acquisition of machine guns for his personal use, enjoyment, profit, and gain. In
addition to acquiring the machine guns for his personal use and enjoyment,
WILLIAMS intended to stockpile machine guns so that he could later surrender his
FFL-SOT and sell the machine guns at a profit.

23. The defendants, BRADLEY EUGENE WENDT and ROBERT ALLEN

WILLIAMS, made machine guns registered to the Adair Police Department, BW

 
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Outfitters, and Williams Contracting available at public events for private citizens to
possess and shoot. WENDT and WILLIAMS charged patrons money to shoot these
machine guns. WENDT and WILLIAMS charged a variable rate to shoot the machine
guns, depending on the type of machine gun or ammunition required.

24. The defendant, BRADLEY EUGENE WENDT, made machine euns
registered to the Adair Police Department and BW Outfitters available at the BW
Outfitter’s Denison location for private citizens to possess and shoot. WENDT
charged patrons money to shoot these machine guns at a variable rate, depending on
the type of machine gun or ammunition required.

Overt Acts

25. In furtherance of the conspiracy and to accomplish the goals of the
conspiracy, at least one of the co-conspirators committed and caused to be committed,
in the Southern District of Iowa and elsewhere, at least one overt act, including, but
not limited to:

Purchases for the Adair Police Department

26. Between approximately October 2019 and August 2021, WENDT
submitted purchase law letters resulting in the acquisition of 10 total machine guns
purportedly for the official use of the Adair Police Department, and not for resale or
transfer. WENDT has sold six of those machine guns. WENDT posted one or more
of these machine guns for sale on GunBroker.com, an auction website, advertising

the machine gun(s) as “NEW IN BOX.”

 
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27. In or about December 2020, via purchase law letter, WENDT purchased
(with his own funds) three H&K, MP7A2 machine guns for $2,080 each, purportedly
for the official duties and responsibilities of the Adair Police Department, and not for
the purpose of resale or transfer. In or about J uly 2021, eight months after acquiring
the three MP7A2 machine guns, WENDT began to sell them. In or about July 2021,
WENDT sold two of the MP7A2 machine guns to a Florida-based buyer for $50,000.
WENDT received a wire of $50,000 to his personal bank account. WENDT personally
profited $45,840 from the sale of these two machine guns registered to the Adair
Police Department. In or about August 2021, WENDT submitted an application to
ATF to transfer these machine guns. WENDT signed the application as the Adair
Chief of Police, and the machine guns were transferred to the Florida-based buyer.

28. In or about October 2021, WENDT posted the remaining MP7A2 for sale
on GunBroker.com, advertising it as “NEW IN BOX.” In or about February 2022,
WENDT sold that MP7A2 to an Alabama-based buyer. During the same transaction,
WENDT also sold an H&K, MP5SD3 machine gun, which WENDT had acquired for
$3,300 (of his own funds) in April 2019, again purportedly for the Adair Police
Department. WENDT sold these two machine guns to the Alabama-based buyer for
a total price of $34,500. The check for the machine guns was addressed to “Brad
Wendt,” sent to WENDT’s personal residence, and deposited into the BW Outfitters
bank account. WENDT personally profited $29,120 from the sale of these two

machine guns registered to the Adair Police Department. On or about March 3, 2022,

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WENDT submitted the application to ATF to transfer these two machine guns to the
Alabama-based buyer.

29, On or about March 3, 2022, simultaneous to the transaction identified
in paragraph 28, WENDT signed a purchase law letter requesting the purchase of
three more H&K, MP7A2 machine guns purportedly for the Adair Police Department.
These machine guns were the identical make and model of the H&K, MP7A2 machine
guns that WENDT sold and sought to transfer to the Alabama-based buyer that same
date, March 3, 2022, and that he had previously sold and transferred to the Florida-
based buyer in August 2021.

30. On or about F ebruary 22, 2022, while the sale of the H&K, MP7A2 to
the Alabama-based buyer was being negotiated, WENDT allowed his significant
other to possess and shoot the H&K, MP7A2, which was registered to the Adair Police
Department. WENDT’s significant other was at no time a sworn officer with the
Adair Police Department. WENDT posted a video of his significant other shooting
the machine gun to his Facebook account and captioned it “come shoot mp7 ©
April 16th.”

31. On April 16, 2022, WENDT and WILLIAMS hosted a public machine
gun shoot in Woodbine, Iowa. WENDT and WILLIAMS advertised this machine gun
shoot on their Facebook pages. At that machine gun shoot, WENDT and WILLIAMS
allowed patrons to shoot a number of machine guns registered to the Adair Police

Department, BW Outfitters, and Williams Contracting. WENDT and WILLIAMS

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charged a fee per round of ammunition fired through the machine guns, which varied
depending on the type of machine gun and ammunition.

32. Among the machine guns available to the public to shoot was a Us,
Ordnance, M60, belt-fed machine gun. This machine gun was registered to the Adair
Police Department and had been acquired by WENDT on a purchase law letter dated
August 19, 2021, purportedly for the official use and responsibilities of the Adair
Police Department.

Machine guns obtained for BW Outfitters

33. Between July 2018 and August 2022, WENDT obtained and acquired 13
different machine guns for BW Outfitters, each purportedly for demonstration to the
Adair Police Department. The Adair Police Department never purchased any of the
machine guns WENDT obtained for demonstration.

34. In or about October 2020, WENDT acquired an FN, M2HB, .50 caliber,
belt-fed machine gun purportedly for demonstration to the Adair Police Department.
In the demonstration law letter, dated July 19, 2020, WENDT stated the belt-fed
machine gun was “ideal” for the Adair Police Department “based on its price and
availability.” WENDT paid $17,896 for the machine gun. Shortly after BW Outfitters
obtained the FN, M2HB machine gun, WENDT mounted it to his personally-owned,
armored Humvee. At the machine gun shoot on April 16, 2022, WENDT charged
patrons $5 per round of ammunition to shoot this machine gun.

35. In or about November 2020, WENDT contacted a machine gun

manufacturer via email. WENDT identified himself as the Adair Chief of Police and

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inquired about purchasing an M134D machine gun. The M134D machine gun, also
known as a minigun, is an electric motor driven gatling gun designed for speed and
accuracy. The M134D machine gun has a magazine capacity of 4,000 rounds and a
fixed firing rate of 3,000 rounds per minute (50 rounds per second). The M134D
machine gun is utilized by the United States military and is typically mounted to a
helicopter. The Adair Police Department does not own a helicopter. The
manufacturer refused WENDT’s request for a quote because it was “highly
improbable” that ATF would approve the transfer of an M134D machine gun to local
law enforcement.

36. In January 2021, WENDT obtained a quote of $80,000 from a different
manufacturer to build him an M134 minigun. In February 2021, WENDT paid a
$40,000 deposit for the M134 build. On November 29, 2021, WENDT wrote a letter
from himself as the Adair Chief of Police to himself as the owner of BW Outfitters,
purportedly requesting a demonstration of the M134 minigun that WENDT had
already commissioned and partially paid for. In that letter, WENDT stated the Adair
Police Department wanted a demonstration of the machine gun “for possible future
purchase and use of our officers in the performance of their official duties” because
the minigun was “suitable for engagements and suppressive fire.” WENDT then sent
the demonstration law letter to the manufacturer, which submitted the letter with
an application to the ATF to transfer the minigun to WENDT. The ATF disapproved

the transfer because the minigun was “not suitable for law enforcement use.”

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Machine guns obtained for Williams Contracting

37. Between September 2020 and August 2021, WENDT signed
demonstration law letters that resulted in the acquisition of 10 different machine
guns for WILLIAMS’ FFL-SOT, Williams Contracting, each purportedly for
demonstration to the Adair Police Department. The Adair Police Department never
purchased any of the machine guns WILLIAMS obtained purportedly for
demonstration to the Adair Police Department.

38. In or about April 2021, WILLLAMS purchased a CCARM, PPSH-41,
7.62x25 machine gun on GunBroker.com. After the purchase, WILLIAMS then
contacted WENDT and solicited a demonstration law letter to facilitate the transfer
of the machine gun that WILLIAMS had already purchased to Williams Contracting.

39. Inor about August 2021, WILLIAMS purchased a Grain Sporting Goods
LLC, Sporter, 7.62x39mm machine gun. After the purchase, WILLIAMS then
contacted WENDT and solicited a demonstration law letter to facilitate the transfer
of the machine gun that WILLIAMS had already purchased to Williams Contracting.

40. In or about September 2021, WILLIAMS purchased a One Shot Inc.,
LAR15, 5.56mm machine gun on GunBroker.com. After the purchase, WILLIAMS
then contacted WENDT and solicited a demonstration law letter to facilitate the
transfer of the machine gun that WILLIAMS had already purchased to Williams

Contracting.

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Machine gun transfers facilitated for other FFL-SOTs

41. On or about January 18, 2021, WENDT signed a demonstration law
letter as the Adair Chief of Police to an FFL-SOT in Las Vegas, Nevada, purportedly
requesting the demonstration of a U.S. Ordnance, M2A2, .50 caliber machine gun for
possible future purchase by the Adair Police Department. In that letter, WENDT
stated the machine gun was “particularly suitable for our officers while conducting
special operations and high-risk prisoner transportation details.” The Adair Police
Department does not conduct high-risk prisoner transportation details. WENDT
signed this letter approximately three months after BW Outfitters obtained its own
M2, .50 caliber machine gun, also purportedly for demonstration for future potential
purchase by the Adair Police Department. WENDT did not want or need a
demonstration of another M2, .50 caliber machine gun, and the purpose of this law
letter was instead to facilitate the transfer of this machine gun to the Las Vegas-
based FFL-SOT, with whom WENDT had a close business relationship.

42. On or about August 2, 2021, WENDT signed demonstration law letters
as the Adair Chief of Police to an FFL-SOT in Florida, purportedly requesting the
demonstration of three machine guns for potential future purchase by the Adair
Police Department. These machine guns, purportedly requested to be demonstrated
for the Adair Police Department, included an H&K, HK416. At the time WENDT
wrote these demonstration law letters, the Adair Police Department already had an
H&K, HK416 machine gun registered to it. The Adair Police Department had no

need to demonstrate a machine gun already registered to it; rather, the purpose of

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these demonstration law letters was to facilitate the resale of the machine guns for
WENDT’s close, personal friend at a substantial profit.

43. In or about February 2022, WENDT sold two machine guns registered
to the Adair Police Department to an FFL-SOT in Alabama, at a substantial profit.
To facilitate the transfer, WENDT signed two demonstration law letters, dated
March 1, 2022. In those demonstration law letters, WENDT, as the Adair Chief of
Police, purportedly requested formal demonstrations of the H&K, MP7A2 and H&K,
MP5SD3 machine guns to determine if those weapons were suitable for future
purchase by the Adair Police Department. These were, however, the same machine
guns the Adair Police Department already owned. The Adair Police Department had
no need for the Alabama-based FFL-SOT to demonstrate machine guns the Adair
Police Department already had. Rather, WENDT wrote these demonstration letters
to complete the transfer of these machine guns to the Alabama-based buyer, after
WENDT profited from their sale.

44. Each of the allegations in Counts 2 through 20 hereinafter are
incorporated and re-alleged herein as further overt acts.

All of this in violation of Title 18, United States Code, Section 371.

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THE GRAND JURY FURTHER CHARGES:

COUNTS 2-3
(False Statements to the ATF — Purchase Law Letters)

45. The introductory allegations of this Indictment, paragraphs 1
through 14, are incorporated as if set forth fully herein.

46. On or about each of the following dates, within the Southern District of
Iowa and elsewhere, the defendant, BRADLEY EUGENE WENDT, knowingly and
willfully made and caused to be made, and used and caused to be used, in a matter
within the jurisdiction of a department or agency of the United States, namely, the
ATF, a materially false, fictitious, and fraudulent statement and representation.
Specifically, WENDT stated on purchase law letters: (1) that the machine guns would
be used to carry out the official duties and responsibilities of the Adair Police
Department; and (2) that the machine guns were not being acquired for the purpose
of resale or transfer, when in fact WENDT was acquiring the machine guns for his

personal gain and profit:

 

Machine guns purchased for official use of

coon ette nate Adair Police Department and not for resale

 

3 H&K MP7A2, 4.6x30mm, at $2,080.00 each
2 October 9, 2019 1 H&K G386K (SF), 5.56x45mm, at $1,625.00 each
1 H&K 416, 5.56 14.5”, at $1,795.00 each

 

 

 

3 March 8, 2022 3 H&K MP7A2, 4.6x30mm, at $2,405.97 each

 

 

 

Each of which is a violation of Title 18, United States Code, Section 1001(a)(2).

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THE GRAND JURY FURTHER CHARGES:

47.

COUNTS 4-16

(False Statements to the ATF — Demonstration Law Letters)

The introductory allegations of this Indictment, paragraphs 1

through 14, are incorporated as if set forth fully herein.

48.

On or about each of the following dates, within the Southern District of

lowa and elsewhere, the defendant, BRADLEY EUGENE WENDT, knowingly and

willfully made and caused to be made, and used and caused to be used, in a matter

within the jurisdiction of a department or agency of the United States, namely, the

ATF, a materially false, fictitious, and fraudulent statement and representation.

Specifically, WENDT stated on demonstration law letters that the machine gun(s)

were requested for demonstration for future potential purchase by the Adair Police

Department, when in fact WENDT was acquiring the machine guns for his personal

gain and profit and / or to facilitate the transfer of machine guns to other FFL-SOTs:

 

 

Count

Letter Date /

Machine guns requested for demonstration ioe

 

FFL-SOT Adair Police Department for future purchase
1 H&K, MP5SD3, 9mm
4 October 31, 2018 / 1 H&K, G36C, 5.56mm

 

Marcum MFG LLC

 

1 H&K,UMP45, 45 ACP

1 H&K, G36KE, 5.56mm

1 H&K, MP7A2, 4.6x30mm
1 H&K, G36KE1, 5.56mm

 

 

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pee t Letter Date / Machine guns requested for demonstration to ]
FFL-SOT Adair Police Department for future purchase
1 FN, P90 Tactical, 5.7x28mm
5 October 31, 2018 / 1 FN, P90 Standard Selective Fire, 5.7x28mm
Marcum MFG LLC 1 FN, P90 TR Selective Fire, 5.7x28mm
1 FN, P90 USG Blk Sight, 5.7x28mm
1 FN, SCAR-SC, 5.56x45mm
1 FN, SCAR 17, 7.62x51mm FDE 16 in LE
1 FN, SCAR 17 CQC, 7.62x51mm FDE 13 in LE
1 FN, SCAR 16, 5.56x45mm FDE 10-in CQC 30-Rnd
1 FN, SCAR 16, 5.56x45mm FDE 14-in 30-RND LE
1 FN, M249 SAW, 5.56mm
1 FN, M249 PARA, 5.56mm
1 H&K, MPd5SD2, 9mm
6 January 15, 2019 / 1 H&K, UMP4O0, 40 S&W
Marcum MFG LLC 1 H&K, MP5/40A8, 40 S&W
1 H&K, MP5A2, 9mm
1 SIG, 516, 5.56mm
1 SIG, SG 551-2P SWAT, 223/5.56mm
March 28, 2019 / _
7 BW Outfitters 1 FN, M-249 Para, 5.56mm
July 19, 2020 /
8 BW Outfitters 1 FN, M2 HB-QCB, 12.7mmx99mm (Full Auto)
January 18, 2021 /
9 Arms Unlimited, Ine. 1 US Ordnance, M2A2, .50 caliber
August 2, 2021 /
10 Objectiv Solutions LLC 1 H&K, MP7 (Full Auto), 4.6x30mm
August 2, 2021 /
1l Objectiv Solutions LLC 1 H&K, HK416 (Full Auto), 5.56mm
August 2, 2021 /
12 Obiectiv Solutions TG 1 H&K, G36C (Full Auto), 5.56mm
November 29, 2021 /
is BW Outfitters 1 DeGroat Tactical Armaments, GAU-2B/A, 7.62mm
March 1, 2022 /
14 1 H&K, MP5SD3 (Full Auto), 9mm

TM Firearms LLC

 

 

 

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Canine Letter Date /

Machine guns requested for demonstration to

 

 

FFL-SOT Adair Police Department for future purchase
March 1, 2022 / eae, SUEDE dh
15 | 1M Firearms LLC 1 H&K, MP7A2 (Full Auto), 4.6x30mm

 

July 1, 2022 /
16 Palm Beach Shooting
Organization LLC

 

 

1 H&K, G86C (Full Auto), 5.56mm

 

Kach of which is a violation of Title 18, United States Code, Sections 1001(a)(2)

and 2.

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THE GRAND JURY FURTHER CHARGES:

COUNTS 17-19
(False Statements to the ATF — Demonstration Law Letters)

49. The introductory allegations of this Indictment, paragraphs 1
through 14, are incorporated as if set forth fully herein.

50. On or about each of the following dates, within the Southern District of
Iowa and elsewhere, the defendants, BRADLEY EUGENE WENDT and ROBERT
ALLEN WILLIAMS, knowingly and willfully made and caused to be made, and used
and caused to be used, in a matter within the jurisdiction of a department or agency
of the United States, namely, the ATF, a materially false, fictitious, and fraudulent
statement and representation. Specifically, WENDT stated on demonstration law
letters that the machine gun(s) were requested for demonstration for future potential
purchase by the Adair Police Department, when in fact the machine guns were being

acquired for WILLIAMS’ personal gain and profit:

 

 

 

 

 

 

 

 

 

aaa t Letter Date / Machine guns requested for demonstration to
FFL-SOT Adair Police Department for future purchase
yeas aL CCARM, PPS A 2
V7 Williams Contracting NS H-4l (Full Auto), 7.62x25mm
SnguBt 28, 2OZLI 1 Grain Sporting Goods LLC, § 7.62x39
18 Willian Contracting rain sporting Goods , Oporter, 7.62x39mm
August 28, 2021 /
19 “yy: 1 One Shot, Inc., LAR-15, 5.56mm
Williams Contracting _|
Kach of which is a violation of Title 18, United States Code, Sections 1001 (a)(2)
and 2.

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THE GRAND JURY FURTHER CHARGES:

COUNT 20
(Illegal Possession of Machine Gun)

Sl: On or about April 16, 2022, in the Southern District of Iowa, the
defendant, BRADLEY EUGENE WENDT, in and affecting commerce, knowingly
possessed a machine gun, namely: a U.S. Ordnance, Model M60, 7.62 caliber machine
gun, with serial number 12413, and aided and abetted the same.

This is a violation of Title 18, United States Code, Sections 922(0), 924(a)(2),
and 2.

THE GRAND JURY FINDS:

NOTICE OF FORFEITURE

Upon conviction for the offense(s) alleged in Counts 1 through 20 of this
Indictment, the defendant, BRADLEY EUGENE WEN DT, shall forfeit to the United
States, pursuant to Title 18, United States Code, Section 924(d), and Title 28, United
States Code, Section 2461(c), all firearms, magazines, and ammunition involved in

the commission of said offenses, including, but not limited to:

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(FERS :
ees Manufacturer Model Caliber Serial Number
wner
Adair Police
D US Ordnance M60 7.62 12413
epartment
FN SCAR-SC 5.56 SC000387
H&K HK416 5.56 88070103
H&K G36K 5.56 84054530
H&K MP7A2 4.6 164029336
H&K MP5SD3 9 63106832
BW Outfitters
FN F2000 5.56 002596
anes AUG AI 223 127517
Mannlicher AG
Thompson
[Imported NFA M1Al A5 282230
Firearm]
Steyr Arms AUG A3 5.56 3198863
FN M2HB QCB 50 36923
Kriss USA Vector SMG 45 458000903
Colt M4 5.56 A0199523
FN MK46 5.56 C14122
FN M-249 PARA 5.56 C14266
FN P90 Tactical 5.7 FN079567

 

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Registered Manufacturer Model Caliber Serial Number
Owner
BW Outfitters
FN SCAR 16QC 5.56 L055189
FN MK48 7.62 NV484905
H&K [Imported
5SD3 898044
NFA Firearm] MEBS 9 a
Williams Grain Sporting
Contxsetine Goods LLC Sporter (02 5033554
One Shot Inc LARI5 5.56 CM64429
John’s Guns FSL 308 X00967
H&K HK33KA3 228 11387
CCARM PPSH-41 7.62x25 O006
Imported NFA 1950 9 5100018
Firearm]
H&K UMP40 40 162001006
CCARM 1919-A4 30.06 015
2A Armament Balios-Lite 5.56 BC00836
John’s Guns M60E3 308 PSXMGM60E3001
Objectiv
H&K HK416 5.56 88073918
Solutions
H&K MP7 4.6 164021752
H&K G36C 5.56 85043773

 

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fe Registered

 

 

 

 

 

 

 

Te]
Manufacturer Model Caliber Serial Number
Owner
Arms Unlimited
US Ordnance M2 50 DS7000
US Ordnance M60 7.62 12494
Ruger AC556 223 192-030738

 

 

 

This is pursuant to Title 18, United States Code, Section 924(d) and Title 28,

United States Code, Section 2461(c).

 
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THE GRAND JURY FURTHER FINDS:

NOTICE OF FORFEITURE

Upon conviction for the offense(s) alleged in Counts 1, 17, 18, and 19 of this

Indictment, the defendant, ROBERT ALLEN WILLIAMS, shall forfeit to the United

States, pursuant to Title 18, United States Code, Section 924(d), and Title 28, United

States Code, Section 2461(c), all firearms, magazines, and ammunition involved in

the commission of said offenses, including, but not limited to:

 

 

 

 

 

 

 

 

 

 

 

 

Heel Manufacturer Model Caliber Serial Number
Owner
Contractine wen ene Sporter 7.62 033554
One Shot Inc LARI15 5.56 CM64429
John’s Guns FSL 308 XO00967
H&K HK3838KA3 223 11387
CCARM PPSH-41 7.62x25 0006
imported NFA 1950 9 5100018
Firearm]
H&K UMP40 40 162001006
CCARM 1919-A4 30.06 015
2A Armament Balios-Lite 5.56 BC00836
John’s Guns M60E3 308 PSXMGM60E3001

 

 

 

 

 

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This is pursuant to Title 18, United States Code, Section 924(d) and Title 28,

United States Code, Section 2461(c).

A TRUE BILL,

 

KOREPERSON

Richard D. Westphal
United States Attorney

By: if Rf 2
Mikaela Shotwell
Assistant United States Attorney

Ryan W. Leemkuil
Assistant United States Attorney

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